       Case 1-18-01052-cec            Doc 59       Filed 05/26/20    Entered 05/26/20 10:15:27




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                              Chapter 11

FMTB BH LLC,                                                        Case No. 18-42228-cec

                                             Debtor.
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FMTB BH LLC,                                                        Adv. Pro. No. 18-01052-cec

                                            Plaintiff,

                 - against -                                        ORDER PERMITTING
                                                                    SERVICE BY EMAIL
1988 MORRIS AVENUE LLC, 1974 MORRIS
AVENUE LLC, 700 BECK STREET LLC, 1143
FOREST AVENUE LLC, and 1821 TOPPING
AVENUE LLC,

                                             Defendants.
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        The Court having ordered that the trial of the above-referenced adversary proceeding
commence on June 10, 2020, at 10 a.m., and Plaintiff having applied to the Court for leave to
serve subpoenas for the attendance at trial on non-party witnesses, and given the present
situation regarding Covid-19 and in the interests of maintaining appropriate standards of public
health and safety, it is hereby

        ORDERED that the parties may serve subpoenas on any non-party witness for his or
her attendance at the trial of this matter, by email to the witness’s last known email address,
with a copy thereof to be served by U.S. Mail, and such shall constitute good and sufficient
service thereof.




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 Dated: Brooklyn, New York                                                   Carla E. Craig
        May 26, 2020                                                 United States Bankruptcy Judge
